WILLIAM K. HARRINGTON
UNITED STATES TRUSTEE, REGION 2
U.S. Department of Justice
Office of the United States Trustee
201 Varick Street, Room 1006
New York, NY 10014
Direct (212) 510-0539
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andrea.b.schwartz@usdoj.gov
By:    Andrea B. Schwartz, Esq., Trial Attorney

UNITED STATES BANKRUTPCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
In re                                                          :   Chapter 11
                                                               :   Subchapter V
LLADRO GALLERIES, INC.                       ,                 :
                                                               :   Case No. 20-11618 (SCC)
                                             Debtor.           :
------------------------------------------------------------ X
TO: THE HONORABLE SHELLEY C. CHAPMAN,
         UNITED STATES BANKRUPTCY JUDGE:

               NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

        Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the

following qualified individual as Subchapter V trustee in the above-captioned case:

                                Heidi J Sorvino, Esq.
                                White and Williams LLP
                                7 Times Square, Suite 2900
                                New York, New York. 10036
                                212-631-4417
                                917-301-9138 (mobile)
                                sorvinoh@whiteandwilliams.com

        The trustee’s verified statement of disinterestedness and anticipated rate of

compensation is attached to this notice.

Dated: Los Angeles, California                             WILLIAM K. HARRINGTON
       July 15, 2020                                       UNITED STATES TRUSTEE

                                                           By      /s/ Andrea B. Schwartz
                                                                   Andrea B. Schwartz, Esq.
